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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 07-22459-CIV-COHN/SELTZER
                         CASE NO. 08-21063-CIV-COHN/SELTZER

  ELOY ROJAS MAMANI, et al,

               Plaintiffs,

  v.

  GONZALO DANIEL SANCHEZ DE
  LOZADA SANCHEZ BUSTAMANTE,

             Defendant.
  ________________________________

  ELOY ROJAS MAMANI, et al.,

               Plaintiffs,

  v.

  JOSE CARLOS SANCHEZ BERZAIN,

             Defendant.
  __________________________________/

                                          ORDER

        THIS CAUSE is before the Court upon Plaintiffs’ Notice of Motion and Motion to

  Compel Production of Documents Responsive to Plaintiffs’ First Set of Requests for

  Production of Documents to Defendant Jose Carlos Sanchez Berzain [DE 263] (Case No.

  07-22459-CIV-COHN) and Plaintiffs’ Notice of Motion and Motion to Compel Production

  of Documents Responsive to Plaintiffs’ First Set of Requests for Production of Documents

  to Defendant Gonzalo Daniel Sanchez de Lozada Sanchez Bustamante [DE 244] (Case

  No. 08-21063-CIV-COHN). The Court commends the parties on their cooperation in

  conducting discovery; counsels’ professionalism and good faith negotiation during several
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  meet-and-confer conferences have substantially reduced the matters requiring Court

  resolution.

         This is an action for damages for the alleged extrajudicial killings, crimes against

  humanity, and wrongful deaths of Bolivian citizens in September and October 2003. See

  Second Amended Complaint [DE 174] (Case No. 07-22459) and [DE 156] (Case No. 08-

  21063). Two separate actions have been filed: one against Defendant Gonzalo Daniel

  Sanchez de Lozada Sanchez Bustamante (“Sanchez de Lozada”) and one against Jose

  Carlos Sanchez Berzain (“Sanchez Berzain”) (or collectively “Defendants.”) Sanchez de

  Lozada is the ex-President of Bolivia and Sanchez Berzain is the ex-Minister of Defense

  of Bolivia. The cases were consolidated for pre-trial purposes [DE 68] (Case No. 07-

  22459) and [DE 91] (Case No. 08-21063).

         The complaints arise from the killings of civilians that occurred during a period of

  unrest in Bolivia during September and October 2003. Plaintiffs are the survivors of

  individuals who died during the unrest. They allege that Defendants planned and used

  unlawful killings and terror as a means of suppressing dissent against Defendant Sanchez

  de Lozada’s plans to export natural gas from Bolivia to the United States and Mexico

  through Chile. Although the deaths themselves are not disputed, Defendants vehemently

  contest Plaintiffs’ version of events. Defendants contend that the protests and resulting

  violence were orchestrated by Bolivia’s current President, Evo Morales, by union leader

  Felipe Quispe, and by their followers in response to Sanchez de Lozada’s planned coca

  eradication program to restore Bolivia’s reputation and end the exportation of cocaine.

         On October 17, 2003, Sanchez de Lozada resigned as President. Both Defendants

  left Bolivia for the United States, where they currently reside.    In October 2004, the

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  Bolivian Congress authorized a “Trial of Responsibilities” to determine the criminal liability

  of Defendants Sanchez de Lozada and Sanchez Berzain and other top government and

  military leaders for the deaths and injuries that occurred in September and October 2003.

  Sanchez de Lozada, Sanchez Berzain, and others were indicted in Bolivia in October 2007.

  According to the allegations in the Second Amended Complaint, Sanchez de Lozada and

  Sanchez Berzain were not extradited from the United States and, therefore, did not

  participate in the Trial of Responsibilities. However, seven other individuals from the

  Bolivian military, police, and government were tried and, in a judgment dated August 30,

  2011, found guilty of the crime of genocide through mass killings in violation of the Bolivian

  Penal Code, art. 138. Defendants assert that Morales’ government gave every protestor

  immunity from prosecution and that the trial against the charged defendants was a “pig-

  circus.”1 [DE 268, p. 7].

         The disputed discovery requests primarily involve Plaintiffs’ requests for documents

  reflecting agreements and payments made by Sanchez de Lozada to Sanchez Berzain and

  others who were involved in the Trial of Responsibilities. Plaintiffs argue that evidence of

  payments and other agreements could establish bias on the part of Sanchez Berzain, as

  well as of individuals who had actually testified at the Trial of Responsibilities. Additionally,

  Plaintiffs contend that evidence of payments made to defendants, witnesses, and

  individuals who monitored the Trial of Responsibilities will assist Plaintiffs in establishing

  the admissibility of testimony from that proceeding under Fed. R. Evid. 804(b)(1)(B) (as

  predecessors in interest to Defendants Sanchez de Lozada and Sanchez Berzain).



         1
             Bob Dylan, Hurricane (1975).

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         Defendants object to the relevancy of the contested document requests, as well as

  the time period for which discovery is sought. Plaintiffs have requested documents from

  2003 to the present. Defendants propose limiting the time period for production from 2003

  to September 19, 2007– the date these actions were filed. Defendants argue that the

  incidents at issue in this case occurred in September and October 2003 and that

  documents created after these cases were filed (with some exceptions) have no bearing

  on the parties’ claims or defenses.

         The standard for discovery requests is as follows: “Parties may obtain discovery

  regarding any nonprivileged matter that is relevant to any party’s claim or defense and

  proportional to the needs of the case, considering the importance of the issues at stake in

  the action, the amount in controversy, the parties’ relative access to relevant information,

  the parties’ resources, the importance of the discovery in resolving the issues, and whether

  the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ.

  P. 26(b)(1). With that standard in mind, the Court will address each of the contested

  discovery requests.

         1.     Request No. 1

         Request No. 1 seeks documents “relating to any agreement” between the two

  Defendants, including “any agreements to indemnify or pay the costs of this litigation or

  Berzain’s asylum application; joint defense agreements; liability-sharing agreements;

  common-interest agreements; remuneration agreements; compensation agreements; or

  any agreements to share information.”

         Defendants have produced Sanchez Berzain’s retainer agreements with United

  States counsel, which they acknowledge contain language responsive to this request.

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  Defendants deny the existence of any additional responsive documents [DE 268, p. 11].

  Taking Defendants’ representations at face value, the Court find that there is nothing left

  to compel. Accordingly, Plaintiffs’ motion will be denied as to Request No. 1.

         2.     Request No. 3

         Request No. 3 seeks “[a]ll documents relating to any transfer of funds or other

  assets or business interests, directly or indirectly or on your behalf, to or from [Sanchez de

  Lozada] [Sanchez Berzain] or any persons acting on his behalf.” In addition to raising

  claims of privilege, Defendants objected to this request on the ground that it is not relevant

  to the claims or defenses in this case. Nevertheless, Defendants agree that Defendants’

  retainer agreements with counsel are responsive to the request and that “relevant, non-

  privileged portions will be produced.” Additionally, Defendants have stated that they are

  not withholding any responsive documents2 beyond the retainer agreements [DE 268, p.

  12]. Taking Defendants’ representations at face value, the Court finds that there is nothing

  left to compel. Accordingly, Plaintiffs’ motion will be denied as to Request No. 3.

         3.     Request No. 4

         Request No. 4 seeks “[a]ll Documents relating to any agreement with, or transfer of

  funds to, any person who attended and/or monitored the Trial and reported or otherwise

  communicated about the Trial to you or on your behalf.”         Defendants objected to this

  request on the basis of attorney-client privilege and/or attorney work product doctrine. In



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            Defendants’ responses include the “caveat that the search has been reasonably
  limited to those places where documents responsive to requests to which Defendant does
  not object may be located” [DE 268, p. 12]. The purpose of this “caveat” is unclear to the
  Court, but the Court will assume that Defendants and their counsel have acted in good
  faith to identify responsive documents.

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  addition, Defendants objected that this Request is not relevant to claims or defenses in this

  case. With the understanding that the Request did not define the term “you” to include

  Defendants’ Bolivian counsel, Defendants responded that they are not withholding any

  non-privileged documents in response to this Request.

         Plaintiffs deny that they agreed that the term “you” does not include Bolivian

  counsel. Indeed, Plaintiffs assert that “payment to Bolivian counsel is the crux of this

  Request” [DE 263, p. 13]. Plaintiffs claim that they are seeking evidence of payments to

  individuals who attended, monitored, or reported on the Trial of Responsibilities to show

  the bias of potential witnesses. They further state that “Plaintiffs believe de Lozada and/or

  Berzain’s Bolivian counsel was involved in monitoring the Trial and potentially helping

  shape witness testimony.”

         The Court finds that Request No. 4 seeks information that is not relevant to the

  issues in this case. The Trial of Responsibilities is not at issue in this case. Rather, the

  events of September and October 2003 and the identity of those who bear responsibility

  for those events are the issues to be decided. Request No. 4, therefore, is not relevant to

  the claims or defenses in this case. Accordingly, Plaintiffs’ Motion will be denied as to

  Request No. 4.

         4.     Request No. 5

         Request No. 5 seeks from each Defendant “[a]ll documents relating to

  communications from October 17, 2003 to the present between you and any person

  prosecuted at the Trial, any witness testifying at the Trial, or any legal representative of a

  defendant or witness at the Trial, including any transfer of funds or other assets or

  business interests to you or on your behalf, directly or indirectly, to any person prosecuted

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  by, any witness testifying at, or any legal representative of a defendant or witness at the

  Trial.” The Court finds that Request No. 5 does not meet the standards for discovery set

  forth in Fed. R. Civ. P. 26(b)(1). The request seeks information that is not relevant to the

  claims or defenses in the case. To the extent Plaintiffs are seeking evidence of potential

  witness bias, the request appears to be a “fishing expedition.” Defendants have already

  offered to “produc[e] documents relating to interaction with witnesses at the Trial of

  Responsibilities, if any, who will testify in the current proceedings” [DE 268, p. 16].

  Plaintiffs, however, have rejected that compromise.

         The request, as framed, would result in “unnecessarily focusing resources on

  tangential matters rather than the claims and defenses in the case. To be sure, there are

  instances where evidence relating to bias must be disclosed. But the . . . records sought

  here do not fit that mold. . . .” Megdal Assoc., LLC v. La-Z-Boy, Inc., 2016 WL 4503337,

  at *2 (S.D. Fla. Jan. 29, 2016) (denying a motion to compel evidence of financial payments

  to establish bias). Accordingly, Plaintiffs’ Motion will be denied as to Request No. 5.

         5.     Request No. 19 [to Sanchez de Lozada]

         Request No. 19 seeks “[a]ll Documents relating to Osvaldo Ramirez from August

  1, 2002 to the present, including all Documents sent by you to, or received by you from,

  Osvaldo Ramirez or anyone acting on his behalf.” Osvaldo Ramirez was Sanchez de

  Lozada’s attorney in Bolivia. Defendant objected on the ground that the request is not

  limited in time (covering a period of 14 years), contains no limitation on subject matter, is

  not limited to any claims or defenses in this action, and is disproportionate to the needs of

  this case.



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         Plaintiffs explain that these documents are relevant to show whether Defendant

  Sanchez de Lozada is a successor in interest to those individuals who were prosecuted

  at trial. Plaintiffs argue that “[i]f Osvaldo Ramirez, acting as Defendant’s agent, impacted

  trial testimony, Defendant may be a successor in interest to the individuals prosecuted at

  the Trial” [DE 244, p. 18].

         The Court finds that Request No. 19 does not meet the standards for permissible

  discovery under Fed. R. Civ. P. 26.1(b)(1). Nothing in this request is limited to, or even

  addresses, the claims and defenses in this case. Accordingly, Plaintiffs’ motion will be

  denied as to Request No. 19.

         6.     Request No. 20 [to Sanchez de Lozada]

         Request No. 20 seeks “[a]ll Documents relating to Mauricio Balcazar from August

  1, 2002 to the present, including all Documents sent by you to, or received by you from,

  Mauricio Balcazar or anyone acting on his behalf.” Mauricio Balcazar is the son-in-law of

  Sanchez de Lozada. The parties’ arguments regarding this request mirror the arguments

  made to Request No. 19. The Court’s analysis is also the same. The Court finds that

  Request No. 20 does not meet the standards for permissible discovery under Fed. R. Civ.

  P. 26.1(b)(1). Nothing in this request is limited to, or even addresses, the claims and

  defenses in this case. Accordingly, Plaintiffs’ motion will be denied as to Request No. 20.

         7.     Request No. 36 [to Sanchez de Lozada]

         Request No. 36 seeks production of copies of “every page from every passport on

  which [Defendant Sanchez de Lozada] ha[s] travelled between January 1, 2003 and the

  present.” Defendant has objected to this request on the ground that it is unrelated to any



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  claims or defenses in the case and, furthermore, is overbroad, unduly burdensome, and

  designed to harass and annoy Defendant. Plaintiffs argue that Sanchez de Lozada’s

  passport is relevant – by revealing his international travel – to “Defendant’s desire to export

  liquefied natural gas from Bolivia and suppress any dissent” [ DE 244, p. 20]. Plaintiff also

  argues that Defendant’s passport is relevant to evaluating the veracity of Defendant’s

  claims that he left Bolivia at various times during 2003 and was, therefore, not in control

  of the government or military.

         The Court finds that Request No. 36 is overly broad in that the span of time

  requested far exceeds the claims or defenses in this case. The Court finds that the copies

  of Sanchez de Lozada’s passport pages from September and October 2003 are relevant

  to the issue of his control (or lack of control) of the government and the military during

  those months. The Court finds that the remainder of Request No. 36 is not relevant to the

  claims or defenses in this case. Accordingly, Plaintiffs’ motion will be granted in part and

  denied in part as to Request No. 36.

         8.      Plaintiffs’ Request for Hearing

         The Court denies Plaintiffs’ request for a hearing on these motions. The parties

  have fully and ably briefed the issues, and a hearing would not assist the Court in making

  its rulings.

         9.      Conclusion

         In light of the foregoing discussion, it is hereby

         ORDERED AND ADJUDGED that Plaintiffs’ Notice of Motion and Motion to

  Compel Production of Documents Responsive to Plaintiffs’ First Set of Requests for



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   Production of Documents to Defendant Jose Carlos Sanchez Berzain [DE 263] (Case No.

   07-22459-CIV-COHN) and Plaintiffs’ Notice of Motion and Motion to Compel Production

   of Documents Responsive to Plaintiffs’ First Set of Requests for Production of Documents

   to Defendant Gonzalo Daniel Sanchez de Lozada Sanchez Bustamante [DE 244] (Case

   No. 08-21063-CIV-COHN) are hereby GRANTED IN PART AND DENIED IN PART. To

   the extent that Defendant Sanchez de Lozada’s passport from September and October

   2003 is in still in existence, copies of pages reflecting international travel during those

   months will be produced. In all other respects, Plaintiffs’ motions are denied.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 15th day of

   June 2017.




   Copies furnished counsel via CM/ECF




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